AFFIDA VIT
O.f
Task Force O__fjicer Jasr)n R. Carter
Drug En_forc€mem Adm."nis[mlron
I, .lason R. Carter, being first duly sworn, do depose and state that:
l. l am a Task Force Offlcer (TFO) with the Drug Enforcement Administration (DEA),
currently assigned to the DEA Springfield, l\/lissouri, Resident Office. As such, l am an
investigative and Federal law enforcement officer of the United States of America, authorized to
conduct investigations of, and to make arrests and seizures for, offenses enumerated in the
"Controlied Substances Act,” Title 21, United States Code.
2. Your affiant has been a sworn law enforcement officer for over seven (7) years. l have
received specialized training relating to the manufacture, distribution, and possession with the
intent to distribute controlled substances Further, from my training and field experience, l have
extensive knowledge of complex illegal drug manufacturing and/or distribution operations
3. l have personally conducted or assisted in numerous investigations of criminal violations
of the Controlled Substances Act and federal drug trafficking statutes l\/lany of these
investigations focused on organizations who have distributed, manufac-tured, or derived income
from illegal sources, specifically from the unlawful distribution of methamphetamine and other
controlled substances
4. ln addition to my experience in conducting criminal investigations, l have received
specialized training from the DEA and other law enforcement agencies The trainings focused on
methods of unlawful drug trafficking; the identification of controlled substances; the means by

which drug traffickers derive, launder, and conceal their profits from drug trafficking; the use of

assets to facilitate unlawful drug trafficking activity; and the law permitting the forfeiture to the

United States of assets purchased with drug proceeds or assets used or intended to be used to
facilitate the drug violations
5. l have participated in the execution of numerous search warrants in the investigation of
drug trafficking Tbese warrants covered the search of locations to include residences of drug
traffickers and their co-conspirators and associates; drug manufacturing operations; stash houses
used as storage and distribution points for controlled substances; and business offices used by
drug dealers as fronts to legitimize their unlawful drug trafficking activities and to conceal the
proceeds obtained from unlawful drug trafficking
6. This affidavit is based on an ongoing investigation by the DEA. All the information
within this affidavit is based upon my personal knowledge, information provided from other law
enforcement officers, and court authorized interceptions ofwire and electronic communications
PURPOSE OF AFFIDAVIT
7. This affidavit sets out circumstances and information that gives me probable cause to
believe that William JONES, and other members ofdrug trafficking organization (DTO) headed
by JONES have been involved the commission of possession with intent to distribute a
controlled substance and distribution ofa controlled substance, in violation of Title 21, United
States Code, Section 84l(a)(l); conspiracy to distribute controlled substances, in violation of
Title 21, United States Code, Section 846; unlawful use of a communication facility to commit
and facilitate the commission of drug trafficking offenses, in violation of Title 21, United States
Code, Section 843(b); and laundering of monetary instruments and engaging in monetary
transactions in property derived from specified unlawful activity, in violation of Title lS, United
States Code, Sections 1956 and 1957. l am seeking evidence related to these offenses that

includes, but is not limited to, records related to money laundering, as outlined in detail in

ATTACHl\/IENT B_. which is incorporated by reference herein and which shall be attached to the
search warrants requested by this affidavit
8. l also have probable cause to believe, based on the information set out in this affidavit
and my training and experience, that the items described in ATTACHMENT B are evidence,
fruits, and instrumentalities of the above described offenses, and that there is probable cause to
believe that these items will be found in the locations described herein.
9. l have probable cause to believe that a search of this location will lead to evidence ofthe
aforementioned crimes as well as the identification of individuals who are or have been engaged
in the commission of those crimes. The controlled substances that are the primary focus of this
investigation are methamphetamine cocaine, and marijuana
IO. Based on information supplied by Confidential Source #l (CS #l), as well as court
authorized interceptions of wire and electronic communications, calls from inmates in the
l\/Iissouri Department of Corrections (l\/IDOC), past police reports from the Springfield, l\/lissouri,
Police Department (SPD) and other jurisdictions, and analysis of information gathered by
investigators to this date, it is believed that known members of the William JONES DTO are
directly responsible for supplying a substantial amount of methamphetamine2 cocaine, and
marijuana in the Springfield, l\/lissouri, area.
l l. Because this affidavit is submitted for the limited purpose of establishing probable cause
to search the location further described in Attachment A for the items listed in Attachment B, not
ali ofthe information known to me about this investigation have been included in this affidavit
LOCATION FOR WHICH PERMISSION TO SEARCH IS SOUGHT
l2. This affidavit is submitted in support of an application for a warrant authorizing the

search of a location in the Western District of l\/lissouri.

13. The location sought to be searched and its description are as follows:
a. 9 Crestview Lane, Fair Grove, Dallas County, l\/lissouri, is a single family
residence The residence is occupied by JONES and his live-in girlfriend, Kristen
CONWAY. Hereinafter referred to as LOCATlON #2 and further described in
ATTACHl\/IENT A.
14. Another location is described in this affidavit and will be referred to as follows
throughout this affidavit
a. 44 Goss Lane, Fair Grove, Dallas County, l\/lissouri, is a brown in color, two-
level, single family residence occupied by Leland and l\/larilyn Courtney.
Hereinafter referred to as LOCATlON #l.

BASIS OF INFORMATION

 

15. Except as otherwise noted, the information set forth in this affidavit has been provided by
me or provided to me by law enforcement agents or officers of the DEA and other cooperating
law enforcement agencies Unless otherwise noted, whenever in this affidavit l assert that a
statement was made, the information was provided by another law enforcement officer with
whom l have spoken or whose report l have read and reviewed 'l`he officer(s) may have based
their information on either direct or hearsay knowledge

16. The information resulting from physical surveillance except where otherwise indicated,
is not necessarily from personal observations, but was provided directly or indirectly by members
of the DEA or other law enforcement officers who conducted the surveillance

l'/'. Likewise, any information pertaining to vehicles and/or registrations, personal data on
subjects and record checks has been obtained through the National Crime Information Center

(NCIC), the l\/lissouri Uniform Law Enforcement System (MULES), and Law Enforcement Data

System (LEDS), the SPD reporting system, the MDOC records, or the Polk County Sheriffs
Office (PCSO) reporting system.
18. All subscriber, toll record, pen register, and trap and trace information contained herein
was obtained by court order or subpoena
l9. As this affidavit is being submitted for the limited purpose of securing authorization for
the search of the listed location for physical evidence related to the crimes listed above, l have
not included each and every fact known to me concerning this investigation. l have set forth only
those facts that l believe are necessary to establish the foundation for an order authorizing the
search of the listed locations and vehicles.

INVESTIGATION OVERVIEW
20. ln June 2016, l conducted an interview of CS #l. CS #l said that he/she knew of a
female in the Pleasant l~lope, Missouri, area that was Selling large amounts of methamphetamine
cocaine, and marijuana named Crystal BURDETTE. CS #l has proven reliable during the course
ofthis investigation in that the information he/she provided has been substantially corroborated
by phone tolls, surveillance, interceptions of wire and electronic communications, and in lune
2017, CS #l also conducted a controlled buy of methamphetamine from Donald CASTEEL, who
l know to be an associate of JONES’ through phone tolls and the interception of wire and
electronic communications
2l. During the interview in June 2016, CS #l stated that sometime during the week of
April 28, 2016, lie/she had provided BURDETTE with a ride to the Harbor Freight Tools store
located at 3909 South Campbell Avenue, Springfield, I\/lissouri. CS #l got out of the vehicle
upon their arrival to the store, and BURDETTE took the vehicle to an unknown residence in the

al'€a.

22. Based on BURDETTE'$ direction of travel and the short amount of time she was gone,
CS #l believed the residence was on or near Fairview Avenue, which is one block west of the
Harbor Freight store When BURDETTE returned, she was in possession of a kilogram of
cocaine CS #l then drove BURDETTE back to her residence When they got there, CS #l
observed the kilogram of cocaine, and stated it had been packaged in sarah wrap and a significant
amount of carbon paper. Based on BURDETTE’s statements to CS #l, and CS #l overhearing a
phone conversation between BURDETTE and her source of supply, CS #l knew BURDETTE

had paid $30_.000.00 for the kilogram of cocaine

23. CS #l also stated he/she believed BURDETTE was partnered with an associate of the
Galloping Goose Motorcycle Club, which is a l% Outlaw l\/lotorcycle Gang with a chapter in the
Springfield, l\/lissouri, area. The term 1% stems from the idea that 99% of motorcycle riders are
law-abiding citizens and the remaining l% of the motorcycle riding population consider

themselves "outlaws" that do not abide by society’s laws.

24. CS #l believed BURDETTE's connection to that criminal organization was a member
named “Wil|y.” CS #l described “‘Wil|y as a white male in his early forties with noticeable acne

scarring on his face CS #l also knew “Willy” had recently been released from MDOC.

25. CS #l provided me with phone number (417) 877-6852 for BURDETTE. ln November
2016, l submitted an administrative subpoena to Verizon Wireless Corporation (Verizon) for the

subscriber information and 30 days’ worth of phone tolls for that number.

26, Verizon identified (417) 877-6852 as a phone number utilized by "Crystal Gott” with an
address of 1958 State Highway KK` Pleasant Hope, l\/lissouri. 'l`he account was established on

August l4, 2016. Based on monitoring ofa Facebook account in BURDETTE’s name that CS

#l directed me to, l knew that ”Gott" was the last name of BURDETTE's live-in boyfriend,
Travis Gott. Additionally, that address was listed in the Polk County, Missouri, Sheriff's Office

reporting system as a known address for BURDETTE.

27. The toll analysis of that number revealed it was in frequent contact with a phone number
of (4l7) 496-0575 (hereinafter Target Telephone l). A Facebook search ofthat number revealed
it was associated with a Facebook account bearing the name of "`Willy Jones." l compared
photos from that Facebook page to the MDOC booking photos of William JONES, and found
they were photos ofthe same person. JONES’ criminal history listed a past address as 44 Goss
Lane, Fair Grove, l'\/Iissouri (LOCATION #1). l also discovered that Target Telephone l was

subscribed to an account under the name of Leland Courtney.

28. JONES was also listed as a known member of the Southwest Honkeys prison gang, as
documented by the l\/IDOC and the SPD. l\/ly investigation has shown that JONES and many of
his associates are either members of, or associated with, a prison gang in the Southwest l\/lissouri
area called the Southwest Honkeys. The Southwest Honkeys have a structure with ranks for
members, bylaws of the group have been recovered in past warrant executions by SPD, and each
member has a "patch” or tattoo, which is often referred to as a "spinner” because of its spinning
swastika appearance and members often have tattoos that read “S.W. Honkey."` SPD and
MDOC keep records of the members of this organization, based on determinations made using a
point system where individuals receive points for things such as admitting membership (9
points), being arrested with another confirmed member (9 points), having a gang tattoo (8
points), being confirmed by another law enforcement gang unit (8 points), identified by a reliable
informant (8 points), being identified by another gang member (8 points), using gang symbols (4

points), admitting to knowledge of gang activity or being in possession of gang documents (4

points). and other activities (2 points). lf an individual receives at least 10 points, that person is
considered a documented member of the gang, lfl have noted below that an associate of.lONES
is a documented member of the Southwest Honkeys below, that information was obtained from

those records

29. After l identified JONES as the user of Target 'l`elephone l, I then submitted an
administrative subpoena to the Sprint Corporation for the subscriber information and thirty days
worth of tolls for Target Telephone l. Their response revealed the phone’s subscriber was listed
as Leland Courtney with an address of LOCATION #1. Leland Courtney was listed as a
“‘Facebook Friend" of the profile utilized by JONES, as well as the Facebook profile pages
bearing the names of l\/Iarilyn Courtney and Robert COURTNEY. Based on the comments
posted to those profile pages, it appears Leland and l\/larilyn Courtney are married and the parents

of Robert COURTNEY.

30. Utilizing the SPD reporting system, l found Leland Courtney was the co-owner of the
shopping center at 3909 South Campbell Avenue, Springfield, Missouri. That shopping center
houses multiple businesses including l-larbor Freight Tools. As noted above, Harbor Freight
Tools is where CS #l drove BURDETTE when she purchased the kilogram of methamphetamine
in April 20l6. Utilizing the l\/lissouri Secretary of State’s publicly accessible website, l found
Leland Coul‘tney was also the owner of“Fly By Night Transportation (FBNT)," which listed its
address as LOCA'I`ION #]. Leland Courtney’s Facebook page also identified him as the

"President" of“FBNT, lnc."’

31. I also found a Springfield, l\/Iissouri, city utilities account in the name of Marilyn

Courtney at an address of 2830 West Swan Street, Springfield, l\/lissouri. The SPD reporting

system identified that location as the residence of Robert COURTNEY. Due to the possible
connection between JONES and COURTNEY, l began conducting surveillance of that address

32. On November 1_1 20|6, SPD Detective Brandon Bowling and l established surveillance at
that location. While there we observed a black in color Chevrolet Blazer that had no license
plates, as well as a black in color 1997 Ford F-350 bearing l\/Iissouri plates SYN 254, parked in
the driveway of the residence The license plate on the truck was registered to Leland Courtney

at LOCATION #1.

33. At approximately 9:00 p.m., the Chevrolet Blazer left the residence Detective Bowling
and l followed the Blazer to a nearby Fast and Friendly gas station, located at 3023 South Scenic
Avenue, Springfie|d, Missouri. l observed the Blazer to be occupied solely by a white female
with red hair, later identified as l\/lorgan Roberts. l requested a patrol officer stop the vehicle for

the license plate violation.

34. SPD Ofiicer James Dougherty responded to the area and located the Blazer as it left the
parking lot of the gas station. Officer Dougherty conducted a traffic stop of the vehicle near
Scenic Avenue and Walnut Lawn for failing to display a rear license plate He contacted the
driver, and identified her as Roberts. During the traffic stop, Officer Dougherty smelled a faint
odor of marijuana emanating from the vehicle He also found Roberts had two active
misdemeanor warrants out of the City of Springfield, l\/lissouri. Officer Dougherty arrested
Roberts for the warrants, and conducted a probable cause search of the vehicle based on the smell
of marijuana During that search, Officer Dougherty located a small baggie containing a white

crystalline substance consistent with methamphetamine and a small baggie containing a green,

leafy substance consistent with marijuana Roberts was transported to SPD's South District

Station where Detective Bowling and l conducted an interview with Roberts.

35. During the post-Miranda interview, l asked Roberts about the contraband located in her
vehicle She stated she did not know the items were in the vehicle and claimed multiple people
drive the vehicle without her present Roberts admitted to regularly using methamphetamine and
stated that she already had one pending drug case out of Greene County, l\/lissouri, Circuit Court

for a drug violation.

36. l asked Roberts if she had any information about drug activity. Roberts was very nervous
and was initially hesitant to talk about known drug associates She ultimately told me l should
“look in Dallas County (l\/lissouri)." l asked her to elaborate and Roberts stated that her
roommate Robert COURTNEY, worked for his father at a trucking company in Fair Grove,
l\/lissouri. Roberts stated COURTNEY sold ounces of methamphetamine and he was supplied
by a male named "Willy."` Based on my prior investigation, and JONES’ connections to the

members ofthe Courtney family, l suspected “Willy” to be William JONES.

37. Roberts stated she did not know much about JONES or COURTNEY’s drug
operation, but she had heard Robert COURTNEY brag about having pounds of cocaine
concealed in oil drums Roberts believed he was referring to oil drums located at the trucking
company’s shop. Shortly after that, Roberts ended the interview, citing a fear of retaliation from

JONES or COURTNEY for cooperating with police

38. l continued to obtain the phone tolls of TARGET TE,LEPHONE l, and found that JONES
was in regular contact with phone number (4|7) 234-8887. A Facebook search of that number

revealed it was associated with a Facebook profile bearing the name ofNathaniel EISENHOUR.

l am familiar with EISENHOUR, have arrested hint in the past, and identified the pictures on the
Facebook profile as being EISENHOUR. l know him to have a history of vehicle theft, burglary,
and drug use He was also a known member of the Southwest Honkeys prison gang, as
documented by i\/IDOC and the SPD.

39. While investigating EISENHOUR, l located an SPD report filed by Taylor Stenquisl on
December 15, 20|6. Stenquist reported ElSENHOUR was at her apartment early that morning
Stenquist said that, at that time EISENHOUR was in possession ofa money counter and a large
blue bag. While he was there ElSENHOUR opened that blue bag and removed a glass smoking
pipe and what she believed was a large bag ofmethamphetamine.

40. On December 21, 2016, EISENHOUR was arrested on a parole violation warrant at 1772
South Glenstone Avenue_1 Springfie|d, l\/Iissouri. On lanuary 9, 2017, l contacted the Greene
County, Missouri, Jail (GCJ) and requested copies of ElSENl-lOUR’s recorded phone calls.

4l. inmates using thejail phone system are notified at the beginning ofthe call that the call is
recorded and subject to monitoring After l received them, l began reviewing the calls, and found
that many ofthem involved conversation about drug activity using vague or coded language

42. ln my training and experience I have learned that those involved in the drug trade often
use vague and coded language while talking on the phone in an attempt to conceal their drug
activity should law enforcement hear their conversations

43. One example of those conversations was a GCJ call from ElSENHOUR to loshua
PRUETT at phone number (417) 849-2933 on December 26, 20l6, at lO:ZS p,m. l knew
EISENHOUR was talking to PRUETT, because l recognized PRUETT’s voice from when he had
been present with ElSENHOUR’s girlfriend during prior conversations I had monitored, and

EISENHOUR had identified him by name ElSENHOUR talked about PRUETT collecting

money owed to EISENHOUR for drug debts He also said__ "l need to know what's up with Willy
and those,” "that's 65 apiece," and "‘he got three" Based on my later investigation and a later
call between EISENHOUR and Target Telephone l, l believe the "Willy" EISENHOUR referred
to is JONES. Based on my training and experience I also believe the conversation above meant
that ElSENHOUR believed that JONES had purchased three pounds of methamphetamine from
EISENHOUR for $6,50() per pound, which was consistent with the current market value of
pounds of methamphetamine

44. EISENHOUR was transferred to an MDOC facility in Fulton, l\/Iissouri, in late December
2016, so I requested copies of his phone calls at that facility as well. Similar to the jail calls
inmates are notified at the beginning of the call and at intervals during the call that the calls are
recorded and subject to monitoring

45. On January l1 2017, at 9:|3 a.m., EISENHOUR contacted PRUETT, and they discussed
money that was supposed to be collected from JONES by PRUETT. EISENHOUR said he
thought PRUETT had “14 stacks” from JONES. PRUETT told him he had it, but it was not from
JONES. EISENHOUR said, "So you have 314,000 to give to my Grandpa?” PRUETT
confirmed he had the money, but again said it was not from JONES. EISENHOUR said, "‘lf
Willy got two and a half, he owes more than that.” PRUETT replied, “l\lo1 l got the big side.”

46. Using more vague language they discussed that PRUETT and JONES split
ElSENHOUR’s load of methamphetamine after EISENHOUR was arrested by SPD, and that
PRUETT received a larger portion than JONES. ElSENl-lOUR explained he thought it was
Supposed to go the other way around

47. On .lanuary l, 2017, at 7:39 p.m., ElSENHOUR's prison phone account contacted Target

Telephone l, and l recognized EISENHOUR’s voice as he spoke to a male ElSENHOUR

referred to as “Willy," who based on my investigation, l believed to be JONES. During that
conversation, EISENHOUR expressed his doubts about PRUETT's ability to handle
ElSENHOUR’s business while EISENHOUR was incarcerated EISENHOUR told JONES he
planned on JONES getting “everything," but PRUETT took it instead ElSENl-IOUR felt
PRUETT was taking advantage of the situation, and JONES agreed

48. JONES then told ElSENHOUR, "‘l got you dog. l wasn't going to give it to him, and l
wasn't going to give it to nobody until l talked to you." JONES later said, "The money will be
where l work. You know what l mean? ln the safe.” ElSENl-IOUR says, “I know you got me."`
49. During another call that was placed on January 16, 2017, at 9:49 a.m., ElSENHOUR
contacted JONES at (417) 669-4820. l immediately recognized the voice of JONES as he
answered the call. During that conversation, JONES again commented about the money he had
for EISENHOUR by saying, "l got this up here in the safe,"’ again referring to the money owed to
ElSENHOUR for the drug debt incurred when Pruett gave EISENHOUR’s methamphetamine to
JONES after EISENHOUR’s arrest. EISENHOUR replied by telling JONES to keep it because
he may have to take it to his attorney at some point.

50. Other jail conversations l monitored around that time between EISENHOUR and
PRUETT led me to believe that EISENHOUR had had PRUETT take money that PRUETT owed
him to ElSENHOUR’s grandfather’s home On January 30, 20i7, DEA Special Agent (SA) Tim
Krisik obtained a federal search warrant for the residence of ElSENHOUR’s grandfather, Roy
Eisenhour, at 2232 South Roanoke Avenue, Springfield, l\/lissouri. Later that same date, agents
proceeded to the address and contacted Roy Eisenhour. l told Roy Eisenhour my investigation
had revealed that Roy Eisenhour was storing drug proceeds on ElSENHOUR’s behalf Roy

Eisenhour was a little hesitant initially to admit he was storing money, but then said, “l knew this

was going to happen.” l asked Roy Eisenhour if it was true he had ElSENl-lOUR’s money, and
he confirmed it was. l asked Roy Eisenhour if he would willingly turn that money over to agents
for seizure and he agreed to do so. The currency was officially counted on February l, 2017,
and was found to be 353 l _,800.

51. On l\/larch ll, 2017, at 8:03 p.m., ElSENHOUR called JONES at Target Telephone l
from his l\/IDOC account. During that call, the two discussed relationship issues ElSENl-IOUR
was having with his girlfriend l-le told JONES he was having his friends move all of his
belongings out of the apartment he had previously shared with his girlfriend He expressed
concern about storing the items as he could not afford to keep a storage unit. JONES reminded
EISENHOUR about the money he was storing by saying, "Well, you still got some money out
here You know that, right?" EISENHOUR replied, "l know. l want you to hold on to that for
me. ls that gonna be alright?” JONES said, "Yeah."’ ElSENl-IOUR then said, "‘l’m gonna need
something to come out to, you know what l’m saying?"` 'fhis conversation provided further
evidence JONES was still storing ElSENHOUR’s drug proceeds and would be until
EISENHOUR was released

52. On .lune 20, 2017, DEA TFO .lames Hamilton contacted the l\/lissouri Department of
Revenue regarding employment and reported income for JONES. According to their records,
JONES reported his employer as FBNT, LLC, with an address at LOCATION #1. During the
fifteen-month period ofJanuary 2016 through l\/larch 2017, JONES’ reported income only totaled
$7,079_

53. The aforementioned conversation between ElSENl-IOUR and JONES, coupled with the
information provided by the l\/lissouri Department of Revenue that JONES was employed by

FBNT, indicated JONES was storing drug proceeds in a safe at LOCATION #»l. ElSENHOUR

is Currently still in the l\/lDOC. l have continued to monitor prison calls between ElSENHOUR
and JONES and have not heard them discuss JONES moving that money, which leads me to
believe it is still at LOCATION #1.

54. On June 18, 2017', documented Southwest l-lonkey gang member Kyle EVANS was
involved in a motorcycle crash after attempting to flee from Greene County, l\/lissouri, Sheriff"s
Office Deputy .lason Conner. Shortly after EVANS eluded Deputy Conner. EVANS crashed the
motorcycle Deputy Conner located EVANS lying in the roadway near Nichols Street and
Orchard Crest Avenue in Springfreld, l\/lissouri. Deputy Conner observed a nylon pistol holster
in EVANS’ waistband, and a Glock handgun lying in the roadway next to EVANS. While
searching EVANS’ pockets for identification, Deputy Conner found EVANS was in possession
of$l,633 in United States currency. SPD Officer Casey Wilson responded to complete the crash
report and located a motorcycle tank bag near the crash location. That bag contained four
baggies that contained a total of approximately six grams of methamphetamine EVANS was
transported to a local hospital for treatment.

55. ln lanuary of 2017, l began requesting any l\/lDOC inmate phone calls made to Target
Telephone l. On .luly lS, 2017, at 12:02 p.m., Jerod ELEY contacted Target Telephone l from
l\/IDOC. ELEY was a known member of the Southwest Honkeys as well, as documented by
MDOC and the SPD. Approximately nineteen minutes into the call, JONES told ELEY he had
received a phone call from “Simcoe,"` known to be William Sll\/lCOE, another documented
member ofthe Southwest Honkeys.

56. JONES told ELEY that Sll\/lCOE had said, “Look, are you listening?” JONES, said he
replied, “Yeah.” JONES said Sll\/ICOE had replied, “The cops got Lee and l\/larilyn’s house

surrounded right now.” JONES said he had replied, "‘Oh fuck.” ELEY asked, “Seriously‘?”

JONES said, “Yeah, but the neighbor OD’d. They weren’t even there for them (Leland and
Marilyn). But you can believe one thing. There was motherfuckin’ crippled bastards running
around, trying to hide in the pond, and all kinds of shit.” ELEY asked, "Whenever you got that
phone call, how did you feel?"` JONES replied, "`Well, here goesl” He laughed and said, “You
know what l mean? l didn’t really know how to feel.”

57. Based on the information l had learned from my interview of Roberts, and the
information JONES was concealing drug proceeds at his “work,” l believed .IONES uses
LOCATION #l as a stash location for contraband and proceeds The aforementioned
conversation with ELEY indicated JONES had been significantly worried about a police
presence at “Lee and Marilyn’s" (LOCATION #l) during the time of the call with Sll\/ICOE,
which would be expected if he was using the residence as a stash location.

58. On August ll, 2017, U.S. District Court Judge 1\/1. Douglas Harpool signed a court order
in case number l7-WT-OOOO4-MDH, authorizing the interception of wire and electronic
communications to and from Target Telephone l.

59. On August 14, 2017, at 7151 p.m., agents intercepted a telephone call from (417) 920-
6416, a number associated with EVANS. l knew this number was utilized by EVANS for many
reasons The first being that 1 recognized EVANS’ voice during the intercepted communication
as his voice is distinct l have learned his voice from reviewing numerous prison calls made to
and from various Southwest l~lonkey gang members and from an interview l conducted of
EVANS in the recent past. Secondly, an administrative subpoena for that phone number
revealed it is registered to "Ricky” Evans with an address of 1019 ‘/z West Lynn Street,
Springfield, Missouri. EVANS’ middle name is Richard, and he uses a nickname of“Ricky.” A

past SPD report from lune 2017 listed that address as the residence of EVANS. Lastly, l was

able to conduct a Facebook search of that number, and found it was associated with a Facebook
profile page bearing EVANS’ name

60. During that call, EVANS spoke to JONES and indicated that he planned to assault a
known female associate of the Southwest Honkeys, identified as Carolyn Carpenter, for allegedly
cooperating with the police EVANS conducted the assault in an effort to protect the Honkeys
EVANS told JONES he needed to know what Carpenter told police and he thought assaulting
her was the best way to draw that truth from Carpenter. Agents attempted to intervene in that
assault, but were unsuccessful in locating Carpenter.

61. On August 15, 2017, at 9:35 a.m., (417) 693-8648, a number associated with Sll\/ICOE,
contacted JONES on Target Telephone 1. An administrative subpoena revealed that telephone
number is a Sprint Corporation cellular telephone number registered to William SlMCOE at his
residence 701 East Smith Street, Springfield, Missouri. A Facebook search of that number also
revealed it is associated with a profile bearing SlMCOE’s name and photo. That Facebook
profile is listed as a “Facebook Friend" of JONES and other known Southwest Honkey gang
members l also recognized Sll\/lCOE’s voice when he spoke to JONES from having heard
Sll\/lCOE’s voice while reviewing numerous prison calls to and from incarcerated Southwest
Honkeys and their associates

62. During that call, Sll\/lCOE and JONES discussed the events from the previous night -
EVANS’ assault of Carpenter. JONES asked Sll\/lCOE what happened, and Sll\/ICOE said that
EVANS and his “ol’ lady” (EVANS’ unknown girlfriend) had, “Beat the shit out of her”
(Carpenter). Sll\/ICOE told JONES he had “diverted it and cleaned it up.” Hc told JONES he got
EVANS out of the house and had two other gang members Darrell DELONG and Al|en

CASSIDY, take “her” to a “safe place.”

63. Their conversation continued, and they discussed EVANS running around "tinleashed.”
Sll\/lCOE told JONES he had tried to mentor EVANS on multiple occasions, but had apparently
been unsuccessful. They agreed he was "out of control,” and discussed getting him out of the
Springfield area in order to prevent him from drawing unwanted attention from law enforcement
64. Sll\/lCOE asked JONES if Carpenter knew where EVANS had been staying, and if she
would attempt to contact the police in reference to the assault JONES stated he did not think she
would do so.

65. On August 15, 2017, U.S. Magistrate Judge David Rush signed a court order authorizing
the GPS tracking of a phone number (417) 920-6416, which was the same above-mentioned
phone utilized by EVANS, based on the information regarding his involvement in the drug trade
and gang violence

66. Utilizing that GPS location information, l found EVANS was staying at LOCATION #1.
The GPS information revealed EVANS spent a large amount of both daytime and nighttime
hours at that location over August 17, 2017 (the date of the phone tracker activation), to
August 24, 2017, on which date EVANS was arrested by the Greene County, l\/lissouri, Sheriff"s
Office after he was found driving vehicle bearing a stolen license plate

67. EVANS was likely the "crippled bastard” JONES had been referring to in the .luly 18,
2017, conversation with ELEY, as EVANS had received significant injuries in the motorcycle
crash. lt also explained why Sll\/lCOE and JONES were so concerned about Carpenter
cooperating with police if she had knowledge about EVANS’ whereabouts and could bring

police attention to LOCATION #1.

68. On August 15, 2017, Dustin PlPER was indicted in the Western District of Missouri for

conspiracy to distribute methamphetamine and possession of a firearm in furtherance of a drug

trafficking crime On August 17, 2017, DEA TFOs Brett Leslie and Keith l\/lills arrested PlPER
in Bolivar, l\/lissouri, and transported him to the United States l\/larshals Service Office

(USMS) in Springfield, l\/lissouri.

69. TFO Leslie obtained a post-Mfrunda statement from PlPER regarding his drug activity.
PlPER identified his source of methamphetamine supply as a man named "Willy." PIPER did
not know “Willy’s"" last name but stated he resided in Fair Grove, l\/lissouri. PIPER said he had
obtained five pounds of methamphetamine a month for a two-year period from “"Willy"` ending in
l\/larch 2017. PlPER said he paid $7,000.00 a pound for the methamphetamine PlPER
described “Willy" as a six foot tall, white male weighing approximately 220 pounds PIPER
alleged “Willy” was “the head ofthe 417 gang.” Based on PlPER’s description, l believe he was

referring to .IONES.

70. TFO Leslie asked PlPER how the methamphetamine transactions occurred PlPER said
"Willy" would bring the methamphetamine to PlPER’s residence in Bolivar, l\/lissouri. PIPER
said “Willy” fronted the methamphetamine to him at $7,000.00 a pound, and would return at a
later date to pick up the money from PlPER so he would not be traveling with drugs and money
at the same time

71. On August 20, 2017, all communication ceased on Target Telephone l. Utilizing
administrative subpoenas phone toll analysis, open source Facebook searches, and the review of
l\/lDOC prison calls where l identified JONES’ voice l was able to identify JONES’ new
telephone number as (417) 371-6965 (hereinafter Target Telephone 2).

72. On September 28, 2017, U.S. District .ludge David Gregory Kays signed a court order in

case number l7-00005-WT-S-MD1~1, authorizing the interception of wire and electronic

communications to and from Target Telephone 2. Agents began monitoring the communication
on that phone the same day.

73. While monitoring Target rl`elephone 2, agents intercepted a call from Target Telephone 2
to (816) 582-6007 that occurred on September 29, 2017, at l 1101 a.m. That number has been
identified as a number utilized by Arthur BARRETT. An administrative subpoena revealed the
phone was registered in BARRETT’s name The number was also associated with a Facebook
page bearing the name of “Art Barrett,” which was listed as a "Facebook Friend” of the profile
utilized by JONES.

74, BARRETT is believed to be a source of drug supply for JONES. That call went as

follows (as transcribed by the wire monitor):

JONES: Talking to another person in the back ground

JONES: Art.

BARRETT: Yeah.

JONES: What's going on buddy?

BARRETT: l’m on the back ofa tow truck sitting on my l-larley getting it dropped off
right now getting it fixed

JONES: Oh yeah. lf you drive it down here we can get it fixed for you buddy.

BARRETF: Well, it won't ride

JONES: ]nntidfble

BARRETT: Ugh g** damn shifter fell off in fourth gear.

JONES: Well, that ain't hard to fix

BARRETT: Well, this guy right here is going to fix it. Right up the street to my house

JONES: Yeah.

BARRETT: Yeah, What are you doing?

JONES: A roof.

BARRETT: Well, all right, l’ve got some good news for you if you want to come this
way. And ugh, real good stuff man.

JONES: Oh yeah.

BARRETT: And ugh, and ugh, different person. l’ve known him for thirty years

JONES: Yeah.

BARRETT: Good l\/lexican. Goes back and forth to Arizona and back and it starts out
at nine five then gets cheaper.

JONES: Alright, um, give me a couple of days to get my ducks in a row.

BARRETT: Ok.

JONES: lt’s scattered out but yeah l'm definiter interested

BARRETT: Ok and you'll really like this guy, man, good people on point. Honest as
they get man.

JONES: Good deal. That's the kind of people l like to fuck with.

BARRETT: l know, we ain't got to go through wait, waiting on that l\/lexican all, all
that. lt it's on deck and all that

.lON ES: All right, Cool (Tnlkr'ng over each other). I'm definitely interested And
ugh, (Tafki`ng over each other). Hey, hey, hey, What about some Reggie?

BARRETT: Yep, l can take care of all ofthat All right give me a call later let me get
this bike off here man.

JONES: Alright.

BARRETT: Alright buddy, bye

75. Based on my knowledge training and experience l believe this conversation indicated
BARRETT had a load of drugs ready for JONES to pick up. BARRETT also indicated he was
using a new source of supply, which he identified as a "diff`erent l\/lexican." Mexico is a known
source country for large amounts of illegal narcotics and large scale drug dealers often deal with
someone that has ties to l\/lexico. BARRETT’s statement about the new “l\/lexican"` traveling
back and forth to and from Arizona indicated he traffics drugs from Arizona, a border state with
l\/lexico. BARRETT told JONES his new source of supply “starts at nine five then gets
cheaper.” l know this to mean the starting price for the drugs sold by the new supplier is $9,500,
which is the current market value for kilograms amounts ofmethamphetamine. l also know drug
dealers will allow for a discounted price ifa customer buys bulk amounts

76. ln this call, .lONES also asked BARRETT about obtaining some “reggie,” which l know
to be a street term used for regular grade marijuana BARRETT indicated he would be able to
supply that to JONES as well, JONES told BARRETT he was “definitely interested,” but would
need a couple of days to get his “ducks in a row" because it was “scattered” l believe this
referred to JONES’ need to collect money from his customers which l know to be common for

drug suppliers to do before obtaining another shipment of drugs

?7. Af`ter JONES told BARRETT he needed to get his "ducks in a row," agents began
intercepting conversations with multiple people that appeared to be in reference to collecting
money. One example of this was an intercepted call that took place on October 2, 20l7, at 9:52
p.m., when JONES sent a text message to (4l7) 655-2348. A Facebook search revealed that
number was associated with a profile bearing the name of “Sean Davis," but the identity of`the
phone’s user has not been confirmed as Davis at this time. The text from JONES read, “l haven't
met with your buddies and l need to get that from you in the next couple days l have way too
much out and have go. Collect." This message was consistent with JONES previous statement to
BARRETT about everything being "scattered.”
78. On October 2, 2017, at ll:52 p.m., JONES sent a text message to (417) 42l-3l87, a
phone known to be used by Bill CROCKER. That message rcad, “Bring those things you were
telling me about tom.” l believe this message was coded language in which “those things"`
referred to money.
79. At 6:10 p.m., October 3, 2017, JONES sent a text to his girlfriend, Kristen CONWAY at
(4l 7) 699-4820 that read, "l am going to Barry’s with Robby to his trailer and money.”
80. Nineteen minutes later, JONES called (417) 699-2043, and told a male he was on his way
to see him. A Facebook search revealed that number was associated with the Facebook profile of
“Berry Davis,” which is a name consistent with JONES’ previous text to CONWAY that said he
was on the way to “Barry’s."
81. At 7:27 p.m., JONES received an incoming phone call from an unknown male at (417)
294-6388. That call went as follows (as transcribed by the wire monitor):

Unknown l\/lale: ...right here. l don't know. l’ll probably put in 15. l don't know how

much it‘s gonna hold.
JONES: l-[ello.

Ul\/l'

JONES:

Ul\/l‘

JONES:

Ul\/l:

JONES:

Ul\/l:

JONES:

Ul\/l:

JONES:

Ul\/l‘

JONES:

Ul\/l:

JONES:

Ul\/l:

Willy l apologize so much dude.

Alright. Well l'm down here in Reed.

Are ya‘?

Yeah, l can holler at you before l...when l go to take of`l`.

OK. Well anyway l'm up here at Highlandville. l wasjust getting
some gas and getting fueled up and l was coming your way. Man
Willy l really feel bad about that. Dude l been puking, puking and
everything else all night ldon't know ifljust got a virus or what.

Talk over each other

l-low do l get ahold of yajust uh?

Uh...are you by your, well can you come to the house or you rather...l
mean can you or no or...

Well I can meet you somewherel

You canjust tell me, well l dont really get no signal down there so l
mean l dont want to miss you cause l need to give this to you.

Hmm.

lt'S all there.

Alright. Um7 trying to think how l can do this. Uh, l don't know. Give
me about an hour and can you call me back in 45 minutes‘?

Yep. From right now. l'll call you back in 45 minutes from, from right
now.

Alright buddy.

Ok. l appreciate you Willy. Thank you.

82. This call indicated the unknown male had something to give to JONES, and stated, “lt’s

all there." l proceeded to the only gas station in Highlandville, l\/lissouri, Shell Gas Station,

located at 179 Glossip Avenue, Highlandville, Missouri. On my arrival there, l requested to view

surveillance footage. The employees stated they were unable to access the footage without a

manager. l asked the employees what they remembered about anyone being at that location at

approximately 7:30 p.m., the time ofthe phone call between JONES and the unknown male. The

employees told me the only people they remembered were "Chucl< and his girlfriend." Due to

their familiarity with “Chuck and his girlfriend,"` and the tendency for gossip to quickly spread in

small towns, l did not ask any further questions

83. At 8:27 p.m., JONES received a text from the unknown male that read, “Hay u told me 2
cal n 45 min l did 2 times l b at the trail."` Two minutes later, the unknown male sent another
text that read, "Come on down." Agents attempted to locate JONES in order to conduct
surveillance of the meeting between jONES and the unknown male, but were unsuccessful in
locating either party.

84. At 10:07 p`m., JONES sent CONWAY another message that said, “On way back went by
chucks also got money Robbie sold his trailer." This message indicated JONES had met with the
unknown male, who l believe to be named “Chuck,"` and had collected money from him.

85. On October 3. 2017, at 9:23 p.m., JONES received a text message from an unknown
female at (417) 705-0334 that read, "He|lo room lOl do l have time to go pick up money b 4 u
get here." JONES replied by texting, "Yeah jour.” That was immediately followed by another
text correcting “jour” to “Hour." At 10:05 p.m., JONES called the same female, and told her he
was back in town, and asked if she "got one of them deals yet.” She replied by saying she had
“ten of them." l believe this was coded language in reference to a sum of money, possibly
“$l0,000.”

86. On October 2_. 2017, at 7:0] p.m., JONES called a female only identified as “Shelly” at
(417) 37`0-5229, who from the conversation appeared to be an accounting student During their
conversation, it was revealed JONES and “Shelly” had planned to meet so “Shelly” could assist
JONES with tax preparation for his business, “William Jones Trucking.” JONES told “Shelly”
that their arrangement would not be a “regular job” and that she would get experience in "all of
the shortcuts.”

87. JONES told “Shelly" that "Ernie" has not paid his taxes since 2009 and is trying to go

“unnoticed” by the Internal Revenue Service (lRS).

88. Their conversation continued and JONES asked "Shelly” if she was good at producing a
contract JONES told "Shelly” that “Woo” bought a truck and trailer, and was going to get
involved in the business as well. l have heard JONES talk about Jeffery WOOSLEY before in
jail calls, and l know “Woo” to be WOOSLEY.

89. JONES said they own the trucks and trailers outright, but wanted “Shelly” to make
contracts that make it appear he and WOOSLEY are making payments to a lease company. l
believe this is an attempt to launder money earned through .lONES’ drug trade. “Shelly” told
JONES "that will be easy" and also said she can make it look like he barely earns anything in
order to decrease the amount of money he must pay in taxes “Shelly” asked JONES what his
goal was, and he told her he would like to avoid “going to prison for tax evasion," and he would
like for the lRS to write him a check instead of him paying the lRS.

90. JONES told "Shelly” he had all of his business documents in his horne office, and they
agreed to meet at a later time so she could go through them before preparing his tax paperwork
From my investigation, surveillance conducted during the investigation both in person and
through obtaining GPS information for Target Telephones l and 2 and past phones ofJONES’, l
know that JONES resides at LOCA'I`I()N #2. As noted above, l have already heard JONES tell
EISENHOUR that he Was keeping his money at "the place he works.” As JONES used different
language to refer to those two different locations and based on my knowledge of his employment
l believe JONES’ home office is at LOCATION #2, and what he refers to as the place that he
works is LOCATION #l. Specifically from this conversation and my past investigation, l
believe JONES is maintaining documentation at LOCATION #2 that would provide evidence of

money laundering of drug proceeds.

9l. On September 30, 2017, Target Telephone 2 also received a telephone call from (417)
705-0334, a number associated with an unknown fema|e. During that call, the unknown female
and JONES discussed her getting a firearm from someone who owed her money, and JONES
asked her to come meet him. JONES is a convicted felon.

92. On October ll, 2017, a conversation on Target Telephone 2 showed that JONES would
be heading to the Kansas City, l\/lissouri, area that day in order to obtain a load of
methamphetamine for re-distribution in the Southwest l\/lissouri area. Agents of the DEA’s
Springfield, l\/lissouri, Resident Office established surveillance at LOCATION #2.

93. At approximately 9:28 p.m. that same evening, JONES left LOCATION #2 in a black
Volkswagen sedan, and traveled to the l<ansas City, Missouri, area. He was accompanied by
CONWAY.

94. Agents maintained surveillance of JONES’ movements while in the Kansas City,
l\/lissouri, area, and observed him meeting with WOOSLEY on several occasions between
October 12, 2017, and October 15, 2017.

95. On the evening of October 14, 20l7, Justin L. RHOADS arrived at the Embassy Suites
hotel in 0verland Park, Kansas, in a white Chevrolet S-lO truck bearing l'\/lissouri license plate
4UY 418. Agents watched as RHOADS met with JONES and WOOSLEY in the parking lot for
approximately a half-hour before JONES and Rl-IOADS walked into the hotel. WOOSLEY left
the hotel lot on his motorcycle at that time. Approximately one hour later, RHOADS left the
hotel in his truck.

96. The next day, on October 15, 2017, at approximately 6:l0 a.m., agents saw WOOSLEY
leave the hotel on his motorcycle and drive to a nearby Wal-l\/lart, located at ll701 l\/letcalf

Avenue, Overland Park, Kansas, where agents observed him go inside the store. Approximately

15 minutes later, WOOSLEY exited the store carrying what appeared to be a small, dark-colored,
bag. WOOSLEY secured the bag to his motorcycle in a cargo net and returned to the Embassy
Suites hotel. Agents were not able to observe what room that WOOSLEY went into when he
returned to the hotel.

97. At approximately 9:00 a.m., agents observed RHOADS return to the hotel parking lot in
the same white Chevrolet truck he had driven the day before and waited in his truck.
Approximately 10 minutes later, JONES exited the front doors of the hotel carrying a large, black
duffel bag. l-le waved to RHOADS and walked to the black Volkswagen before setting the black
duffel bag on the ground next to the Volkswagen. RHOADS moved his truck and parked next to
JONES and the Volkswagen, so that the bag was between the Vo|kswagen and the truck. rl`he
two removed a large box from the backseat of the Volkswagen and placed it in the bed of
RHOADS’ truck. RHOADS then picked up the large black duffel bag and placed it in the cab of
the truck behind the driver’s seat RHOADS and JONES talked for a while in the lot before
RHOADS left in his truck with the duffel bag.

98. Agents maintained surveillance of RHOADS as he drove southbound on U.S. l-lighway
71 out of the Kansas City, l\/lissouri, area. Agents coordinated with the l\/lissouri State Highway
Patrol (l\/ISHP), who conducted a traffic stop of Rl-IOADS’ truck on l\/lissouri Highway 13, just
south of Humansville, Polk County, in the Western District ofl\/lissouri.

99. During that Stop, troopers conducted a probable cause search of the vehicle based on the
intelligence gathered and observations made by myself and other agents. During that search,
l\/lSl-IP Sergeant Gary Braden located the black duffel bag behind RHOADS’ driver’s seat
inside that bag, Sergeant Braden located lO Ziploc-style plastic bags that contained a white,

crystalline substance consistent with methamphetamine

100. Rl-IOADS was transported to the MSHP office in Bolivar, l\/lissouri, for processing l
responded to that location and took possession ofthe duffel bag and its contents
101. l later weighed the 10 plastic bags and their contents, and found they had a cumulative
weight of21 pounds, a distributive amount of methamphetamine A field test ofthe substance in
one ofthe bags showed a positive result for the presence of methamphetamine
INFORMATION TO BE OBTAlNED BY SEARCH
102. l know from my training and experience that persons involved in the unlawful delivery
and possession of controlled substances commonly maintain records to assist them in their
business activities These records are used to record credits, debits, profits, and proceeds; to
reconcile profits related to drug trafficking; and to keep track of drug supplies, information about
illegal drug suppliers, customers, and other co-conspirators. l also know that these drug records
can and do remain intact and at locations where they are kept for weeks or even months after the
last incident of drug activity occurred at a location.
103. l know from my training and experience that most people, including people involved in
unlawful delivery and possession of controlled Substances and money laundering, possess items
of identification or false identification, including, but not limited to, drivers licenses, papers and
documents and effects or items which show possession, dominion and control of residences,
vehicles, and other premises, including but not limited to: keys, mail, envelopes, receipts for
rent, rental agreements, bills from public utilities and telephone services, address books, and
similar items. l know that these items are relevant to identifying the possessor of the records of
money laundering, possessors of items seized, as well as the occupants and users of the premises,

vehicles, or other locations searched.

104. l know from my training and experience that the profits from the sale of controlled
substances are often used not only to purchase other controlled substances for resale, but may
also be used to purchase or invest in real estate, businesses, and other items of value such as
vehicles. l have further learned that profits derived from the illegal drug trade._ such as the sale of
controlled substances, are also sometimes filtered through the daily cash receipts of a business or
bank accounts This method of filtering those illicit cash profits through a seemingly legitimate
business or bank account, or by investing in or buying real estate or other items of value is
commonly known as money laundering l know from my training and experience that profits
realized from the sale of illegal controlled substances, as generally described above, help enable
individuals involved in the illegal sale of controlled substances to attempt to legitimize their
illegal profits by giving them the appearance of being legal profits realized through a legitimate
businessl l know from my training and experience that persons involved in the unlawful delivery
and possession of controlled substances will claim to hold jobs and file tax records with the
government to show a level of income in attempt to conceal their actual form of income as drug
traffickers l know that items including but not limited to payment stubs and tax records, bills of
sale or purchase, and receipts of purchase are relevant to show the true level of income and
expenditures which they are accustomed to by their earning and spending habits.

105. l know from my training and experience that pagers and their contents, cellular
telephones and their contents, answering machines and voice mail, and caller identification
devices and their contents, are all used by drug-traffickers to facilitate their drug-trafficking
activities, and these devices and services often contain information regarding a drug-trafficker’s
customers, suppliers, and other co-conspirators, and are therefore tools ofthe trade. l am seeking

to seize these items.

106. l know from my training and experience that persons involved in trafficking in quantities
of methamphetamine cocaine, and marijuana maintain, and often retain for long periods of time,
phone records, records documenting travel such as gas receipts, motel receipts, bar and restaurant
bills, and other documents reflecting the expenditure of moneys as the result of activities
connected to or resulting from drug-trafficking They sometimes retain such records for the
purpose of bookkeeping, and at other times such records merely accumulate and remain in their
vehicles or residences or other locations where they keep personal effects. Records ofthis nature
are often maintained at their residences, in their vehicles, on their person, but are also often found
in residence, vehicles, or in the personal possession of their criminal associates - especially
where that association has been on-going and long-term.

Target Location
9 Crestview Lane, Fair Grove, Missou ri - Location #2
108. Based on this investigation and facts set forth in this affidavit l believe there is probable
cause to search LOCATION #2, which is 9 Crestview Lane, Fair Grove, l\/lissouri and further
described in Attachment A, for items set forth in Attachment B.
109. 9 Crestview Lane, Fair Grove, Missouri, is more fully described in Attachment A.
Southwest Electric Cooperative records show that current electric service is in the name Gerald
Pryor. lnvestigators have determined Pryor is a landlord of JONES who owns the residence
lnvestigators have determined that LOCATION #2 is where JONES lives based on the facts set
forth above.
110. Based on the above, l have probable cause to believe and do believe there is probable
cause to request that the Court issue a search warrant directing the search of the location as

described fully herein in the Western District of l\/lissouri for the items described in Attachment

B which are contraband or evidence, or are otherwise used to facilitate or promote, or which
constitute proceeds of the crimes listed above.

l 1 l. During the course ofthis investigation, several members of the DTO have been identified
as members of the Southwest Honkeys prison gang Members of this gang have violent criminal
histories, as well as a histories of fighting with or fleeing from law enforcement The primary
target ofthis investigation, William JONES, is currently in custody, but l know from my training
and experience that it is common for drug traffickers to have an associate stay at their home
while they are in custody. Additionally, six handguns have been seized from various members of
the organization since the beginning of this investigation. Based on the legitimate concern of the
risk to officer safety, i am requesting the authorization to serve this warrant at any time, day or
night

l 12. The ongoing investigation in this matter would be jeopardized if the targets mentioned in
this affidavit or others had knowledge of the details of the investigation set forth in this affidavit
Based on these concerns, l request that this affidavit the application for the warrant and the
warrant as well as any other related documents be sealed.

Further your affiant sayeth not

 

a arter
Task Force Officer
Drug Enforcement Administration

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Sworntobeforemethis fig dayof`Get~e-ber,ZOl'/'. fp/?

DAVID P. RUSi-l
UNITED STATES MAGISTRATE JUDGE
WESTERN DISTRICT OF MlSSOURI

 

